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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
TYHEEM KEESH, f/k/a Tyheem Allah and
JESUS MICHAEL JOVA, f/k/a Robert D’Lucca,

                                             Plaintiffs,                      9:04-CV-0779
                                                                              (NAM)(GJD)
               v.

JOSEPH T. SMITH, Superintendent, Shawangunk
Correctional Facility; EVAN GORELICK, Deputy
Superintendent of Programs, Shawangunk Correctional
Facility; GLENN S. GOORD, Commissioner, New York
State Dept. of Correctional Services; JOHN H. NUTTALL;
MARK LEONARD; GEORGE PATAKI,

                                             Defendants.
TYHEEM KEESH,
  f/k/a Tyheem Allah
JESUS MICHAEL JOVA
  f/k/a Robert D’Lucca
Plaintiffs, pro se

JEFFREY P. MANS, Esq.
Assistant Attorney General
Counsel for Defendants

GUSTAVE J. DI BIANCO, MAGISTRATE JUDGE

                                   DECISION and ORDER

       By Decision and Order of this Court filed September 21, 2006, plaintiffs’

motions for leave to file a second amended complaint and to compel further discovery

responses from the defendants were denied. Dkt. No. 89.1

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        Plaintiffs Tyheem Keesh, f/k/a Tyheem Allah, and Jesus Michael Jova, f/k/a Robert
D’Lucca, inmates in the custody of the New York State Department of Correctional Services
(“DOCS”), filed this civil rights action alleging that they have been denied accommodations by
DOCS to practice their religion in violation of their free exercise rights under the First Amendment
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       Plaintiffs’ motion seeking reconsideration of that Decision and Order is

presently before this Court. Dkt. No. 90.

       A court may justifiably reconsider its previous ruling if: (1) there is an

intervening change in the controlling law; (2) new evidence not previously available

comes to light or (3) it becomes necessary to remedy a clear error of law or to prevent

manifest injustice. Delaney v. Selsky, 899 F.Supp. 923, 925 (N.D.N.Y. 1995)

(McAvoy, C.J.) (citing Doe v. New York City Dep't of Soc. Servs., 709 F.2d 782, 789

(2d Cir.), cert. denied, 464 U.S. 864 (1983)).

       The standard for granting a motion for reconsideration is strict. Shrader v. CSX

Transportation, Inc., 70 F.3d 255, 257 (2d Cir.1995). A motion for reconsideration

“should not be granted where the moving party seeks solely to relitigate an issue

already decided.” Id. Furthermore, a motion for reconsideration is not to be used “for

relitigating old issues, presenting the case under new theories, securing a rehearing on

the merits, or otherwise taking a ‘second bite at the apple’ ....” Sequa Corp. v. GBJ

Corp., 156 F.3d 136, 144 (2d Cir.1998) (citations omitted). See Makas v. Ulster

County, 2007 WL 925728 * 1 (N.D.N.Y. Mar. 27, 2007) (Sharpe, J.).

       In addressing plaintiffs’ motion for leave to file a second amended complaint,

the Court thoroughly reviewed the file in this mater and the proposed amended


and the Religious Land Use and Institutionalized Persons Act of 2000, 42 U.S.C. §§ 2000cc et seq.
(“RLUIPA”). Summary judgment motions filed by plaintiffs (Dkt. No. 112) and defendants (Dkt.
No. 101) will be addressed in a separate order.

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pleading submitted by the plaintiffs.2 The Court determined that several of the

individuals named in that pleading were absolutely immune from liability under

§ 1983 and were not proper parties to this action. Dkt. No. 89 at 4-8.3 The Court also

found that granting the motion was likely to significantly delay resolution of this

matter, thereby warranting the denial thereof. Because plaintiffs’ motion to amend

was filed after the expiration of the deadline set by the Court in the Pretrial

Scheduling Order for filing non-dispositive motions, the motion was also denied as

untimely filed. Id.

       By their motion for reconsideration, plaintiffs reassert their belief that the

requested amendments were necessary “to put the other issues in proper context.”

Dkt. No. 90 at 4. Plaintiffs maintain that the amended pleading set forth their claims

that they have been denied the freedom to practice their religious beliefs due to

“racism and retaliation” in greater detail and argue that the amended pleading should

have been permitted. Id.

       Upon review, the Court denies this aspect of plaintiffs’ motion for

reconsideration. The fact that plaintiffs disagree with the Court’s decision does not


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           Plaintiffs filed an amended complaint as of right in March, 2005. Dkt. No. 26.
       3
           Plaintiffs’ proposed amended complaint named fourteen (14) additional defendants and set
forth plaintiffs’ claims in one hundred thirty-eight (138) additional paragraphs. Dkt. No. 56. The
pleading set forth ongoing acts and/or omissions which, according to plaintiffs, are attributable to the
violation of their right to practice their religious beliefs. As plaintiff Keesh recognized, “[t]o be
truthful, it would be necessary to amend my complaint every day.” Dkt. No. 69 ¶ 3.

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warrant reconsideration thereof, and the Court finds that plaintiffs have failed to

demonstrate that reconsideration of its prior Order is necessary to remedy a clear error

of law or to prevent manifest injustice.4

       Plaintiffs also seek reconsideration of the Court’s decision insofar as it denied

their motions to compel discovery. Dkt. No. 90. By their first motion to compel,

plaintiffs objected to the sufficiency of the responses provided by defendants to

interrogatories and requests for production of documents. The Court thoroughly

reviewed plaintiffs claims and determined that the objections interposed by defendants

were proper. Dkt. No. 89 at 9-10. Plaintiffs’ second motion, seeking responses to a

second set of interrogatories and documents demands, was denied because the

demands were not timely served in accordance with the Pretrial Order and because

plaintiffs did not establish good cause for an extension for the discovery period. Id. at

11-12. Lastly, the Court addressed plaintiffs’ request for relief regarding their

depositions, and found that plaintiffs failed to demonstrate that their physical well-

being had been seriously compromised such that their ability to participate in the

depositions had been impaired. Id. at 12-14.5

       By their motion for reconsideration, plaintiffs merely reassert their position that


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         Plaintiffs do not claim that there has been an intervening change in the controlling law or
that new evidence not previously available has come to light.
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         The Court had previously granted plaintiffs’ request to postpone the depositions in order to
permit plaintiffs an opportunity to submit evidence of their medical condition. Dkt. No. 65.

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their discovery requests were proper and that defendants’ objections thereto should

have been overruled. Dkt. No. 90 at 5-12.6 Plaintiffs argue that the requested

discovery relief would not have prejudiced defendants and that the information sought

is relevant to their claims. With respect to their depositions, plaintiffs seek an order of

this Court “striking” or otherwise voiding this discovery. Dkt. No. 90 at 11.

       Upon review, the Court denies this aspect of plaintiffs’ motion for

reconsideration as well. Plaintiffs seek solely “to relitigate ... issue[s] already

decided,” and have not met the strict standard required for granting a motion for

reconsideration. See Shrader, supra, 70 F.3d at 257.

       WHEREFORE, it is hereby

       ORDERED, that plaintiffs’ motion for reconsideration (Dkt. No. 90) is

DENIED, and it is further

       ORDERED, that the Clerk serve a copy of this Order on the parties.

Dated: May 25, 2007




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          Here again, plaintiffs do not claim that there has been an intervening change in the
controlling law or that new evidence not previously available has come to light.

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